Case 1:17-bk-12408-MB   Doc 265 Filed 11/28/17 Entered 11/28/17 12:00:27   Desc
                         Main Document     Page 1 of 5
Case 1:17-bk-12408-MB   Doc 265 Filed 11/28/17 Entered 11/28/17 12:00:27   Desc
                         Main Document     Page 2 of 5
Case 1:17-bk-12408-MB   Doc 265 Filed 11/28/17 Entered 11/28/17 12:00:27   Desc
                         Main Document     Page 3 of 5
Case 1:17-bk-12408-MB   Doc 265 Filed 11/28/17 Entered 11/28/17 12:00:27   Desc
                         Main Document     Page 4 of 5
Case 1:17-bk-12408-MB   Doc 265 Filed 11/28/17 Entered 11/28/17 12:00:27   Desc
                         Main Document     Page 5 of 5
